
PER CURIAM.
The employer/carrier appeals the deputy commissioner’s award of temporary partial disability, wage loss and medical bills. We affirm except with respect to the award of temporary partial disability benefits.
Claimant was temporarily partially disabled from January 4, 1984 through March 14, 1984 when she reached maximum medical improvement. The deputy found that claimant had actively begun to seek employment in early January of 1984. However, the record contains no evidence that claimant conducted any work search between January and March 14, 1984. Therefore, the award of temporary partial disability is REVERSED. The order appealed is otherwise Affirmed.
BOOTH, C.J., and NIMMONS and ZEH-MER, JJ., concur.
